Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 1 of 8




                       EXHIBIT S
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 2 of 8
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 3 of 8
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 4 of 8
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 5 of 8
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 6 of 8
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 7 of 8
Case 1:21-cv-03217-CJN Document 1-19 Filed 12/08/21 Page 8 of 8
